       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Jerrell Cortez Edwards
        v. Commonwealth of Virginia
        Record No. 0954-14-1
        Opinion rendered by Judge O’Brien on
         December 22, 2015

    2. Heather Hogston Lambert
        v. Commonwealth of Virginia
        Record No. 0029-15-3
        Opinion rendered by Chief Judge Huff on
        December 22, 2015

    3. Marquis Durrell Jennings
        v. Commonwealth of Virginia
        Record No. 0063-15-1
        Opinion rendered by Judge AtLee on
        December 22, 2015

    4. Crystal Gail Ramsey
        v. Commonwealth of Virginia
        Record No. 0123-15-1
        Opinion rendered by Chief Judge Huff on
        December 29, 2015

    5. Patrick Franklin Graves, Jr.
        v. Commonwealth of Virginia
        Record No. 2344-14-1
        Opinion rendered by Judge Decker on
        January 12, 2016
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Michael Jonthan Garland Saunders
   v. Commonwealth of Virginia
   Record No. 1630-12-2
   Opinion rendered by Chief Judge Huff
    on February 4, 2014
   Affirmed by order (140507)

2. Ronald Taft Davis, III
   v. Commonwealth of Virginia
   Record No. 1873-12-2
   Opinion rendered by Judge Petty
     on February 25, 2014
   Affirmed by order and remanded to Court of Appeals with directions to remand to the
   Circuit Court of Surry County for the limited purpose identified in the Court of Appeals’
   opinion (141674)

3. Dewayne Oliver Winslow
   v. Commonwealth of Virginia
   Record No. 1447-13-4
   Opinion rendered by Judge Kelsey
    on December 23, 2014
   Affirmed by order (150143)

4. Women’s Healthcare Associates, Inc.
   v. Valerie A. Mucci and Virginia Birth-Related Neurological Injury Compensation Program
   Record No. 1180-14-4
   Opinion rendered by Judge Humphreys
    on March 3, 2015
   Refused (150708)

5. Angela C. Bess, M.D.
   v. Valerie A. Mucci and Virginia Birth-Related Neurological Injury Compensation Program
   Record No. 1191-14-4
   Opinion rendered by Judge Humphreys
    on March 3, 2015
   Refused (150708)

6. Loudoun Hospital Center, d/b/a Inova Loudoun Hospital, Azam Dabirzadeh, R.N., and
   Alysia Warfield, R.N.
   v. Valerie A. Mucci and Virginia Birth-Related Neurological Injury Compensation Program
   Record No. 1211-14-4
   Opinion rendered by Judge Humphreys
     on March 3, 2015
    Refused (150708)
7. Deshay Arkel Stith
   v. Commonwealth of Virginia
   Record No. 1548-14-2
   Opinion rendered by Judge Beales
    on July 7, 2015
   Refused (151188)
      The Supreme Court issued opinions in the following cases, which had been appealed
from this Court:

   1. Darien Vasquez, a/k/a Darien Vazquez
      v. Commonwealth of Virginia
      Record No. 1878-13-3
      CAV petition for appeal denied by Judge Beales on June 11, 2014
      Judgment of Court of Appeals affirmed by opinion rendered on February 12, 2016
      (141071)

   2. Donald Arthur Herrington
      v. Commonwealth of Virginia
      Record No. 1083-13-4
      Memorandum opinion rendered by Judge Chafin on November 12, 2014
      Judgment of Court of Appeals affirmed by opinion rendered on February 12, 2016
      (150085)

   3. Brandon Valentin
      v. Commonwealth of Virginia
      Record No. 1791-13-3
      Memorandum opinion rendered by Judge Decker on February 3, 2015
      Judgment of Court of Appeals affirmed by opinion rendered on February 12, 2016
      (150357)
